          Case 24-12364-ABA                       Doc 1       Filed 03/04/24 Entered 03/04/24 23:53:38                             Desc Main
                                                             Document      Page 1 of 21
 Fill in this information to identify the case:

 United States Bankruptcy Court for the:

 District of New Jersey
 ____________________ District of _________________
                                        (State)
                                                           11
 Case number (If known): _________________________ Chapter _____                                                                     Check if this is an
                                                                                                                                        amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                          06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




 1.   Debtor’s name                           BowFlex Inc.
                                              ______________________________________________________________________________________________________




 2.   All other names debtor used             Nautilus, Inc.
                                              ______________________________________________________________________________________________________
      in the last 8 years                     ______________________________________________________________________________________________________
                                              ______________________________________________________________________________________________________
      Include any assumed names,
                                              ______________________________________________________________________________________________________
      trade names, and doing business
      as names                                ______________________________________________________________________________________________________




 3.   Debtor’s federal Employer               9      4      3    0 0      2 6 6 7
                                              ___ ___ – ___ ___ ___ ___ ___ ___ ___
      Identification Number (EIN)



 4.   Debtor’s address                        Principal place of business                                  Mailing address, if different from principal place
                                                                                                           of business
                                                  17750 S.E. 6th Way
                                              ______________________________________________               _______________________________________________
                                              Number     Street                                            Number     Street

                                              ______________________________________________               _______________________________________________
                                                                                                           P.O. Box

                                              Vancouver                    WA       98683
                                              ______________________________________________               _______________________________________________
                                              City                        State    ZIP Code                City                      State      ZIP Code


                                                                                                           Location of principal assets, if different from
                                                                                                           principal place of business
                                             Clark
                                              ______________________________________________
                                              County                                                       _______________________________________________
                                                                                                           Number     Street

                                                                                                           _______________________________________________

                                                                                                           _______________________________________________
                                                                                                           City                      State      ZIP Code




 5.   Debtor’s website (URL)                  https://www.bowflex.com
                                              ____________________________________________________________________________________________________




Official Form 201                                   Voluntary Petition for Non-Individuals Filing for Bankruptcy                            page 1
          Case 24-12364-ABA                Doc 1         Filed 03/04/24 Entered 03/04/24 23:53:38                             Desc Main
                                                        Document      Page 2 of 21
Debtor         BowFlex Inc.
              _______________________________________________________                       Case number (if known)_____________________________________
              Name




 6.   Type of debtor                      
                                          ✔ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                           Partnership (excluding LLP)
                                           Other. Specify: __________________________________________________________________

                                          A. Check one:
 7.   Describe debtor’s business
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          
                                          ✔ None of the above



                                          B. Check all that apply:

                                           Tax-exempt entity (as described in 26 U.S.C. § 501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                             § 80a-3)
                                           Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                          C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                             http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                             4461
                                             ___ ___ ___ ___

 8.   Under which chapter of the          Check one:
      Bankruptcy Code is the
      debtor filing?                       Chapter 7
                                           Chapter 9
                                          ✔ Chapter 11. Check all that apply:
                                          
      A debtor who is a “small business
      debtor” must check the first sub-                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
      box. A debtor as defined in                             aggregate noncontingent liquidated debts (excluding debts owed to insiders or
      § 1182(1) who elects to proceed                         affiliates) are less than $3,024,725. If this sub-box is selected, attach the most
      under subchapter V of chapter 11                        recent balance sheet, statement of operations, cash-flow statement, and federal
      (whether or not the debtor is a                         income tax return or if any of these documents do not exist, follow the procedure in
      “small business debtor”) must                           11 U.S.C. § 1116(1)(B).
      check the second sub-box.                           
                                                           The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                              noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                              less than $7,500,000, and it chooses to proceed under Subchapter V of
                                                              Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                              statement of operations, cash-flow statement, and federal income tax return, or if
                                                              any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                              § 1116(1)(B).

                                                           A plan is being filed with this petition.
                                                           Acceptances of the plan were solicited prepetition from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. § 1126(b).

                                                          
                                                          ✔ The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                              for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                           The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                           Chapter 12




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                               page 2
          Case 24-12364-ABA                Doc 1       Filed 03/04/24 Entered 03/04/24 23:53:38                                Desc Main
                                                      Document      Page 3 of 21
Debtor         BowFlex Inc.
               _______________________________________________________                      Case number (if known)_____________________________________
               Name



 9.   Were prior bankruptcy cases        ✔ No
                                         
      filed by or against the debtor
      within the last 8 years?            Yes. District _______________________ When _______________ Case number _________________________
                                                                                             MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY

 10. Are any bankruptcy cases             No
      pending or being filed by a                       See Schedule 1
      business partner or an             ✔ Yes. Debtor _____________________________________________
                                                                                                    Relationship _________________________
      affiliate of the debtor?                               New Jersey
                                                   District _____________________________________________ When               __________________
      List all cases. If more than 1,                                                                                        MM / DD / YYYY
      attach a separate list.                      Case number, if known ________________________________



 11. Why is the case filed in this       Check all that apply:
      district?
                                          Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                             immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                             district.

                                         ✔ A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.
                                         

 12. Does the debtor own or have         
                                         ✔ No
      possession of any real              Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs immediate                        Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard? _____________________________________________________________________

                                                   It needs to be physically secured or protected from the weather.
                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                      attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                      assets or other options).

                                                   Other _______________________________________________________________________________


                                                  Where is the property?_____________________________________________________________________
                                                                            Number          Street

                                                                            ____________________________________________________________________

                                                                            _______________________________________         _______ ________________
                                                                            City                                            State ZIP Code


                                                  Is the property insured?

                                                   No
                                                   Yes. Insurance agency ____________________________________________________________________
                                                           Contact name     ____________________________________________________________________

                                                           Phone            ________________________________




              Statistical and administrative information




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 3
         Case 24-12364-ABA                   Doc 1         Filed 03/04/24 Entered 03/04/24 23:53:38                                 Desc Main
                                                          Document      Page 4 of 21
Debtor
             BowFlex Inc.
            _______________________________________________________                              Case number (if known)_____________________________________
            Name




 13. Debtor’s estimation of              Check one:
     available funds                     ✔ Funds will be available for distribution to unsecured creditors.
                                         
                                          After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                          1-49                                1,000-5,000                                25,001-50,000
 14. Estimated number of
                                          50-99                               5,001-10,000                               50,001-100,000
     creditors
                                          100-199                             10,001-25,000                             
                                                                                                                          ✔ More than 100,000
                                          200-999

                                          $0-$50,000                          $1,000,001-$10 million                     $500,000,001-$1 billion
 15. Estimated assets
                                          $50,001-$100,000                    $10,000,001-$50 million                    $1,000,000,001-$10 billion
                                          $100,001-$500,000                  ✔ $50,000,001-$100 million
                                                                                                                          $10,000,000,001-$50 billion
                                          $500,001-$1 million                 $100,000,001-$500 million                  More than $50 billion

                                          $0-$50,000                         $1,000,001-$10 million                      $500,000,001-$1 billion
 16. Estimated liabilities
                                          $50,001-$100,000                   $10,000,001-$50 million                     $1,000,000,001-$10 billion
                                          $100,001-$500,000                 ✔
                                                                              $50,000,001-$100 million                    $10,000,000,001-$50 billion
                                          $500,001-$1 million                $100,000,001-$500 million                   More than $50 billion


            Request for Relief, Declaration, and Signatures


 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
            $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


 17. Declaration and signature of        Q    The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
     authorized representative of
                                              petition.
     debtor
                                         Q    I have been authorized to file this petition on behalf of the debtor.

                                         Q    I have examined the information in this petition and have a reasonable belief that the information is true and
                                              correct.


                                         I declare under penalty of perjury that the foregoing is true and correct.

                                                             03/04/2024
                                              Executed on _________________
                                                          MM / DD / YYYY


                                         8 /s/ Jim Barr
                                              _____________________________________________                Jim Barr
                                                                                                           _______________________________________________
                                              Signature of authorized representative of debtor             Printed name

                                                     Chief Executive Officer
                                              Title _________________________________________




 Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                  page 4
         Case 24-12364-ABA              Doc 1       Filed 03/04/24 Entered 03/04/24 23:53:38                               Desc Main
                                                   Document      Page 5 of 21
Debtor
             BowFlex Inc.
            _______________________________________________________                     Case number (if known)_____________________________________
            Name




 18. Signature of attorney
                                      8 /s/ Joseph J. DiPasquale, Esq.
                                          _____________________________________________            Date         03/04/2024
                                                                                                              _________________
                                          Signature of attorney for debtor                                    MM    / DD / YYYY



                                         Joseph J. DiPasquale, Esq.
                                         _________________________________________________________________________________________________
                                         Printed name
                                         Fox  Rothschild LLP
                                         _________________________________________________________________________________________________
                                         Firm name
                                         49 Market Street
                                         _________________________________________________________________________________________________
                                         Number     Street
                                         Morristown
                                         ____________________________________________________                 NJ
                                                                                                         ____________ 07960
                                                                                                                      ______________________________
                                         City                                                            State        ZIP Code

                                          (973) 992-4800
                                         ____________________________________                            jdipasquale@foxrothschild.com
                                                                                                          __________________________________________
                                         Contact phone                                                   Email address



                                         016191994
                                         ______________________________________________________       NJ
                                                                                                ____________
                                         Bar number                                             State




 Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 5
Case 24-12364-ABA                  Doc 1        Filed 03/04/24 Entered 03/04/24 23:53:38                             Desc Main
                                               Document      Page 6 of 21


Official Form 201A (12/15)


                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF NEW JERSEY


            In re:                                                                Chapter 11

            BOWFLEX INC.,                                                         Case No. 24-_____ (___)

                                             Debtor.


   Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
     If any of the debtor’s securities are registered under Section 12 of the Securities Exchange Act of 1934, the SEC file
 number is     001-31321

     The following financial data is the latest available information and refers to the debtor’s condition on
 December 31, 2023


      Total assets                                                      $    140,117,000
      Total debts (including debts listed in 2.c., below)               $    125,956,000
      Debt securities held by more than 500 holders                          None

      secured տ        unsecured տ        subordinated      տ     $
      secured տ        unsecured տ        subordinated      տ     $
      secured տ        unsecured տ        subordinated      տ     $
      secured տ        unsecured տ        subordinated      տ     $
      secured տ        unsecured տ        subordinated      տ     $


      Number of shares of preferred stock                                                                   None
      Number of shares of common stock                                                                      36,361,526


      Comments, if any:   Total assets and total debts are listed as set forth in the Debtor’s unaudited balance sheet for
 fiscal period ended December 31, 2023. To the Debtor’s knowledge, the shares of common stock listed above are
 those outstanding as of November 10, 2023.


      Brief description of debtor’s business:   The Debtor, together with its debtor and non-debtor affiliates, is a leading
 international developer, distributor, and manufacturer of health and fitness products sold under several marquee
 fitness brands across international markets.


     List the names of any person who directly or indirectly owns, controls, or holds, with power to vote, 5% or more of the voting
 securities of debtor:
 Namdar Igal
Case 24-12364-ABA                    Doc 1            Filed 03/04/24 Entered 03/04/24 23:53:38   Desc Main
                                                     Document      Page 7 of 21



 Fill in this information to identify the case:

 United States Bankruptcy Court for the:


                             District of New Jersey
                                           (State)

 Case number (If known):                                    Chapter 11




                                                            Schedule 1

            Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

        On the date hereof, each of the entities listed below (collectively, the “Debtors”) filed a
petition in the United States Bankruptcy Court for the District of New Jersey for relief under
chapter 11 of title 11 of the United States Code. The Debtors have moved for joint administration
of these cases under the case number assigned to the chapter 11 case of BowFlex Inc.

BowFlex Inc.
BowFlex New Jersey LLC
Case 24-12364-ABA             Doc 1       Filed 03/04/24 Entered 03/04/24 23:53:38                     Desc Main
                                         Document      Page 8 of 21



                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF NEW JERSEY


    In re:                                                      Chapter 11

    BOWFLEX INC.,                                               Case No. 24-_____ (___)

                             Debtor.


                   LIST OF REGISTERED EQUITY SECURITY HOLDERS 1

         Pursuant to rule 1007(a)(3) of the Federal Rules of Bankruptcy Procedure, the following is
a list of holders of equity securities of the above-captioned debtor.

             Equity Holder                 Address of Equity Holder               Percentage of Equity Held
                 N/A                                 N/A                                    N/A




1
  By the Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing the Debtors to (A) File a Consolidated
Creditor Matrix and (B) File a Consolidated List of 30 Largest Unsecured Creditors, (II) Waiving the Requirement
to File a List of All Equity Security Holders of BowFlex Inc. and Provide Notices Directly to Equity Security Holders,
(III) Authorizing Debtors to Redact Certain Personally Identifiable Information in the Creditor Matrix and Certain
Other Documents, and (IV) Granting Related Relief, filed contemporaneously herewith, the Debtor is requesting a
waiver of the requirement under Bankruptcy Rule 1007 to file a list of all of its equity security holders.
Case 24-12364-ABA        Doc 1     Filed 03/04/24 Entered 03/04/24 23:53:38           Desc Main
                                  Document      Page 9 of 21



                    IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF NEW JERSEY


 In re:                                              Chapter 11

 BOWFLEX INC.,                                       Case No. 24-_____ (___)

                       Debtor.


                        CORPORATE OWNERSHIP STATEMENT

        Pursuant to rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure,
there are no corporations that directly or indirectly own 10% or more of any class of the debtor’s
equity interests.
                Case 24-12364-ABA                         Doc 1          Filed 03/04/24 Entered 03/04/24 23:53:38                                      Desc Main
                                                                        Document      Page 10 of 21

      Fill in this information to identify the case:

      Debtor name BowFlex Inc., et al.

      United States Bankruptcy Court for the:       District of New Jersey
                                                                                          (State)
                                                                                                                                                            Check if this is an
      Case number (If known):
                                                                                                                                                               amended filing




    Official Form 204
    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest
    Unsecured Claims and Are Not Insiders                                                                                                                                     12/15

    A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
    largest unsecured claims.


     Name of creditor and complete mailing            Name, telephone number, and       Nature of the claim      Indicate if     Amount of unsecured claim
     address, including zip code                      email address of creditor contact (for example, trade      claim is        If the claim is fully unsecured, fill in only unsecured
                                                                                        debts, bank loans,       contingent,     claim amount. If claim is partially secured, fill in total
                                                                                        professional services,   unliquidated,   claim amount and deduction for value of collateral or
                                                                                        and                      or disputed     setoff to calculate unsecured claim.
                                                                                        government contracts)


                                                                                                                                 Total claim, if      Deduction for        Unsecured
                                                                                                                                 partially            value of             claim
                                                                                                                                 secured              collateral or
                                                                                                                                                      setoff
                                                    Lin Huang
1    Zhejiang Arcana Power Sports Tech. CO., LTD.
                                                    086-574-63233666
     Nr.618 Xinxing Avenue, Zonghan, Emerging
                                                    lin.huang@arcanapower.com
     Industrial Area
                                                                                        Trade Claim                                                                      $ 24,268,258.05
     Cixi
                                                    Anne Guan
     Zhejiang Province 315301
                                                    86.574.63233666
     China
                                                    allan.ding@arcanapower.com
     Ningbo ShangYong Co., Ltd.
2    NO. 168 ZONGAN ROAD                            Audrey Zhang
     ZONGHAN TOWN, CIXI                             0086-574-63236251                   Trade Claim                                                                      $ 5,575,047.84
     Zhejiang Province 315301                       audrey.zhang@arcanapower.com
     China
     NINGBO SHANGYONG FITNESS EQUIPMENT
3    Co., Ltd.
                                                    Lin Huang
     NO. 168 ZONGAN ROAD
                                                    0086-0574-63233666                  Trade Claim                                                                      $ 4,461,697.28
     ZONGHAN TOWN, CIXI
                                                    lin.huang@arcanapower.com
     Zhejiang Province 315301
     China

4    Magnate Health Tech. Co., Ltd.
                                                    Irene Chang
     1 F., No. 25, Ln. 97, Songjiang Rd.
                                                    886-4-22315920                      Trade Claim                                                                      $ 3,802,398.42
     Zhongshan Dist. Taipei City 10486
                                                    irene.chang@beto.com.tw
     Taiwan

5    Cerence Operating Company                      Jennifer Salinas, General Counsel
     1 BURLINGTON WOODS DR STE 301A                 1 (617) 925-7812                    Trade Claim                                                                      $ 3,106,457.05
     BURLINGTON MA 01803-4503                       ar-us@cerence.com


6    Core Health and Fitness, LLC                   Michael Bruno
     4400 NE 77TH AVE STE 300                       1 (360) 836-3543                    Trade Claim                                                                      $ 1,764,873.22
     VANCOUVER WA 98662-6857                        betty@laxiamen.com

     Xiamen Everesports Goods Co.,ltd
7    No.101 Ji’an road Tong’an industry district
                                                    Rainy Geng
     Xiamen city
                                                    86-592-7207175                      Trade Claim                                                                      $ 1,512,537.86
     Fujian Province
                                                    rainy.geng@everesports.com
     361000
     China
     DongYang SOPOP Co., Ltd.
8    Shang An Tian of NanMa Town                    Elsa Jing
     DongYang City                                  +86 182 5702 8866                   Trade Claim                                                                      $ 1,343,703.77
     Zhejiang Province 322121                       elsa@sopop.cn
     China
    Official Form 204                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                               page 1
               Case 24-12364-ABA                       Doc 1         Filed 03/04/24 Entered 03/04/24 23:53:38                                       Desc Main
                                                                    Document      Page 11 of 21

    Debtor          BowFlex Inc., et al.                                                                  Case number (if known)
                    Name




     Name of creditor and complete mailing         Name, telephone number, and       Nature of the claim      Indicate if     Amount of unsecured claim
     address, including zip code                   email address of creditor contact (for example, trade      claim is        If the claim is fully unsecured, fill in only unsecured
                                                                                     debts, bank loans,       contingent,     claim amount. If claim is partially secured, fill in total
                                                                                     professional services,   unliquidated,   claim amount and deduction for value of collateral or
                                                                                     and                      or disputed     setoff to calculate unsecured claim.
                                                                                     government contracts)


                                                                                                                              Total claim, if      Deduction for        Unsecured
                                                                                                                              partially            value of             claim
                                                                                                                              secured              collateral or
                                                                                                                                                   setoff

9    US CUSTOMS & BORDER PROTECTION              Fredrick B. Smith, Chief Counsel
     6650 TELECOM DR, SUITE 100                  202-344-2940                           Trade Claim                                                                   $ 1,158,621.44
     INDIANAPOLIS IN 46278                       supervisoryclientreps@cbp.dhs.gov

   Electronic Way Technology Co., Ltd
10 No.268, South Jiguang Road, Qiandeng Town     General Counsel
     Kunshan                                     +8618616555982                         Trade Claim                                                                   $ 851,491.47
     Jiangsu Province 215343                     jabari@sheway.com
     China

11 Impact Tech, Inc.                             Kian Mitchum
     223 E De La Guerra Street                   (805) 966-2300                         Trade Claim                                                                   $ 461,460.75
     Santa Barbara CA 93101                      kian@impact.com


12 DISH NETWORK                                  Timothy A. Messner, General Counsel
     9601 S. MERIDIAN BLVD.                      855-784-4069                           Trade Claim                                                                   $ 401,338.00
     ENGLEWOOD CO 80112                          dishcares@dish.com

   Dongguan MKS Electronic Controls Co., Ltd.
13 Taixing Road 76#, Shuishecong 3# industrial
     park, Wanjiang District                     General Counsel
     CN                                          0086-769-21666362                      Trade Claim                                                                   $ 330,662.20
     Dongguan City                               mks_ken@163.com
     Guangdong Province 523043
     China

14 Go Configure, LLC                             Jeremy Friemel
     PO BOX 2671                                 (646) 938-9833                         Trade Claim                                                                   $ 299,817.00
     NEW YORK NY 10108-2671                      ar@selectexp.com

   Nantong Ironman Co., Ltd.
15 NO. 21 Chongchuan Road
                                                 Carrie Cao
     JS
                                                 86-513-85728925                        Trade Claim                                                                   $ 266,199.28
     Nantong
                                                 nathan@ironmaster-group.com
     Jiangsu Province 226000
     China

16 Lake Forest Bank & Trust Company, N.A.        Paul Blake, Executive Vice President
     450 SKOKIE BLVD STE 1000                    847-604-5067                           Trade Claim                                                                   $ 255,180.30
     NORTHBROOK IL 60062-7917                    pblake@lakeforestbank.com


17
     VI Technologies, Inc.195 MONTAGUE ST STE    General Counsel(818) 395-
                                                                                        Trade Claim                                                                   $ 226,209.68
     1106BROOKLYN NY 11201-3628                  2672billingnyc@vitrainer.com



18 Brown Printing, Inc.                          Don Murray
     2245 N VANCOUVER AVE                        (503) 284-5086                         Trade Claim                                                                   $ 206,974.08
     PORTLAND OR 97227-1920                      don@brownprn.com


19 Federal Express Corporation                   Mark Allen, General Counsel
     PO Box 94515                                (800) 548-3020                         Trade Claim                                                                   $ 200,000.00
     Palatine IL 60094-4515                      Useft@fedex.com


20 TMF POLYMER SOLUTIONS INC. (US)               Carol Crosby
     12127B Galena Rd                            (541) 479-7484                         Trade Claim                                                                   $ 178,118.37
     Plano IL 60545                              Carol@tmfpolymers.com



    Official Form 204              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                               page 2
               Case 24-12364-ABA                          Doc 1         Filed 03/04/24 Entered 03/04/24 23:53:38                                      Desc Main
                                                                       Document      Page 12 of 21


  Debtor            BowFlex Inc., et al.                                                                     Case number (if known)
                    Name




     Name of creditor and complete mailing           Name, telephone number, and       Nature of the claim      Indicate if     Amount of unsecured claim
     address, including zip code                     email address of creditor contact (for example, trade      claim is        If the claim is fully unsecured, fill in only unsecured
                                                                                       debts, bank loans,       contingent,     claim amount. If claim is partially secured, fill in total
                                                                                       professional services,   unliquidated,   claim amount and deduction for value of collateral or
                                                                                       and                      or disputed     setoff to calculate unsecured claim.
                                                                                       government contracts)


                                                                                                                                Total claim, if      Deduction for        Unsecured
                                                                                                                                partially            value of             claim
                                                                                                                                secured              collateral or
                                                                                                                                                     setoff

21 Columbia Tech Center, LLC                       Jake Bigby
     P. O. Box 4800, Unit 37                       360-737-6300                                Trade Claim                                                              $ 165,858.25
     Portland OR 97208-4800                        eftpayments@pactrust.com


22 NeoU LLC                                        Sophie Weiner
     420 5TH AVE                                   (917) 605-2114                              Trade Claim                                                              $ 164,516.13
     NEW YORK NY 10018-2729                        Sophie@neoufitness.com


23 Qualtrics, LLC                                  Blake Tierney
     333 RIVER PARK DR                             (385) 203-4517                              Trade Claim                                                              $ 135,000.00
     PROVO UT 84604-5787                           ar@qualtrics.com


24 Coherent Solutions, Inc.                        Dan Schneider
     1600 UTICA AVE S STE 120                      (612) 279-6265                              Trade Claim                                                              $ 128,656.00
     MINNEAPOLIS MN 55416-1544                     danschneider@coherentsolutions.com


25 Axian, Inc.                                     Jenna Morgan
   SUIT 571
                                                   (503) 644-6106                              Trade Claim                                                              $ 127,560.00
   10220 SW GREENBURG RD
                                                   jmorgan@axian.com
   PORTLAND OR 97223-5503

26 GUARDSMAN CPS LLC                               Mandy Roach
     2200 HIGHWAY 121 STE 100                      (817) 785-6441                              Trade Claim                                                              $ 116,225.17
     BEDFORD TX 76021-5983                         mandy.roach@amyntagroup.com


27 Dscout                                          Ben Hogg
     432 N CLARK ST STE 400                        (413) 749-4656                              Trade Claim                                                              $ 89,632.00
     CHICAGO IL 60654-4536                         accounting@dscout.com


28 QualityLogic, Inc.                              Susan Grazier
     DEPT LA 22366                                 (208) 424-1905                              Trade Claim                                                              $ 70,888.17
     Pasadena CA 91185                             sgrazier@qualitylogic.com

                                                   Benjamin Present at Kline & Specter, P.C.
29                                                 (215) 772-1000
     Kylie Kimmel
                                                   benjamin.present@klinespecter.com
                                                                                                                Contingent,
   Contact Information: Kline & Specter, P.C.,
                                                   Adam J. Kress and Anna R. Rick at Johnson Litigation         Unliquidated,                                            Unknown
   1525 Locust Street, 12th Floor Philadelphia, PA
                                                   Becker, PLLC                                                 Disputed
   19102, and Johnson Becker, PLLC, 444 Cedar
                                                   (612) 436-1800
   Street, Suite 1800 St. Paul, MN 55101
                                                   akress@johnsonbecker.com
                                                   arick@johnsonbecker.com
   Leigh Bank-Jaffe
30                                                 J.A. Michael Wolfe                                           Contingent,
   Contact Information: Wolfe Lawyers, 1 Eglinton 416.322.110                                Litigation         Unliquidated,                                            Unknown
   Avenue East, Suite 169Toronto, Ontario M4P mwolfe@wolfelawyers.com                                           Disputed
   3A1




  Official Form 204                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                                 page 3
          Case 24-12364-ABA                         Doc 1        Filed 03/04/24 Entered 03/04/24 23:53:38                                 Desc Main
                                                                Document      Page 13 of 21
 Fill in this information to identify the case and this filing:


 Debtor Name BowFlex Inc.

 United States Bankruptcy Court for the:    District of New Jersey
                                                                                       (State)
 Case number (If known):




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


          Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
          Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
          Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
          Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
          Schedule H: Codebtors (Official Form 206H)
          Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
          Amended Schedule
         9      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)


         9      Other document that requires a declaration            List of Equity Security Holders and Corporate Ownership Statement




        I declare under penalty of perjury that the foregoing is true and correct.


        Executed on 03/04/2024                                       8 /s/ Jim Barr
                           MM / DD / YYYY                              Signature of individual signing on behalf of debtor



                                                                               Jim Barr
                                                                        Printed name

                                                                               Chief Executive Officer
                                                                        Position or relationship to debtor



Official Form 202                               Declaration Under Penalty of Perjury for Non-Individual Debtors
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                                           Filed  03/04/24 Entered 03/04/24 23:53:38                   Desc Main
                                          Document       Page 14 of 21



                                        UNANIMOUS WRITTEN CONSENT OF
                                    THE BOARD OF DIRECTORS OF BOWFLEX INC.
                                                     AND
                                             THE SOLE MEMBER OF

                                             BOWFLEX NEW JERSEY LLC

                                                        March 4, 2024

                     The undersigned, being: (i) all of the members of the Board of Directors (the “Board”) of
             Bowflex Inc. (“Bowflex”), and (ii) the sole member (the “Member,” each, a “Governing Body”
             and together, the “Governing Bodies”) of BowFlex New Jersey LLC (“Bowflex NJ,” each, a
             “Company” and, together, the “Companies”), by signature of this written consent, hereby waive
             notice of a special meeting of the applicable Governing Body and unanimously consent to the
             actions and adopt the following resolutions, in lieu of holding a special meeting for that purpose,
             pursuant to Sections 23B.08.210 and 23B.08.230 of the Revised Code of Washington (“RCW”),
             with respect to Bowflex, and Section 15A:5-6 of the New Jersey Revised Statutes (“NJRS”), with
             respect to Bowflex NJ:


             Chapter 11 Filing

                     WHEREAS, each Governing Body has considered presentations by each Company’s
             management (“Management”) and its legal and financial advisors (collectively, the “Advisors”)
             regarding (a) the assets, the current and long-term liabilities, the historical performance, liquidity,
             and prospects of the Companies, (b) the strategic alternatives available to the Companies, and
             (c) the potential effects of the foregoing on the Companies’ business and stakeholders
             (collectively, the “Strategic Alternatives”).

                    WHEREAS, each Governing Body has received, reviewed, considered and discussed the
             recommendations of Management and the Advisors and fully considered the Strategic
             Alternatives, including the relative risks and benefits of: (i) pursuing bankruptcy proceedings
             under the provisions of chapter 11 of title 11 of the United State Code (the “Bankruptcy Code”),
             and has determined that it is desirable and in the best interests of each Company, its creditors, its
             stockholders and other interested parties that each Company file a voluntary petition for relief
             (the “Petition”) to commence a case (each, a “Bankruptcy Case” and, collectively, the
             “Bankruptcy Cases”) under chapter 11 of the Bankruptcy Code in the United States Bankruptcy
             Court for the District of New Jersey (the “Bankruptcy Court”);

                     WHEREAS, in connection with the filing of each of the Petitions, there has been presented
             to each Governing Body proposed procedures for a marketing and bidding process (the “Bidding
             Procedures”) in connection with a potential sale or sales (collectively, the “Sale”) of all or
             substantially all of the Companies’ assets, or any portion thereof (the “Assets”), pursuant to section
             363 of the Bankruptcy Code.

                  WHEREAS, each Governing Body deems it to be advisable and in the best interest of the
             Company to enter into that certain Asset Purchase Agreement by and among BowFlex Inc. and
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                                           Filed  03/04/24 Entered 03/04/24 23:53:38                Desc Main
                                          Document       Page 15 of 21



             Johnson Health Tech Retail, Inc (the “Stalking Horse Purchaser”), a Wisconsin corporation, in
             substantially the form attached hereto as Exhibit A (the “Purchase Agreement”), pursuant to
             which, among other things, the Stalking Horse Purchaser will purchase the Assets and assume
             certain liabilities of the Companies upon the terms and conditions of the Purchase Agreement
             through a Sale.

                    WHEREAS, there has been presented to each Governing Body a motion to be filed with
             the Bankruptcy Court (the “Bidding Procedures and Sale Motion”) seeking, among other things,
             the Bankruptcy Court’s (a) approval of the Bidding Procedures and (b) authorization for the
             Companies to enter into the Purchase Agreement.

                     WHEREAS, each Governing Body, having fully discussed and considered the Strategic
             Alternatives with the Advisors, has determined that it is desirable and in the best interests of the
             Companies, their creditors, and other interested parties that the Companies pursue a Sale of the
             Assets in the manner outlined in the Bidding Procedures and Purchase Agreement and the Bidding
             Procedures and Sale Motion.

                    NOW, THEREFORE, BE IT RESOLVED, that the Companies shall be, and hereby are,
             authorized and directed to file the Petition for relief under chapter 11 of the Bankruptcy Code in
             the Bankruptcy Court and perform any and all such acts as are reasonable, advisable, expedient,
             convenient, proper or necessary to effect the foregoing.

                     RESOLVED FURTHER, that any officer, director or other authorized person of the
             Companies or any of their delegates (each individually, an “Authorized Person” and collectively,
             the “Authorized Persons”) shall be, and each of them, acting alone, hereby is, authorized and
             empowered in the name of and on behalf of the Companies to verify, modify (as necessary or
             desirable), execute, and/or file or cause to be filed the Petition, any ancillary documents, and all
             other schedules, lists, motions, applications, and other papers or documents necessary or desirable
             in connection with the foregoing in such form or forms as any such Authorized Person may
             approve.

                     RESOLVED FURTHER, that each of the Authorized Persons of the Companies or their
             designees shall be, and each of them acting alone hereby is, authorized, directed and empowered,
             in the name of and on behalf of the Companies, to pay all expenses, including Advisors’ fees and
             retainers, taxes, consent payments, indemnities, and filing fees, in each case as in such Authorized
             Person’s or Authorized Persons’ judgment shall be necessary or desirable in order to fully carry
             out the intent and accomplish the purposes of the resolutions adopted herein, with all of such
             payments to be conclusive evidence of such approval and that such Authorized Person deemed the
             same to be so necessary, appropriate or advisable.

                     RESOLVED FURTHER, that each Authorized Person be, and hereby is, authorized,
             directed, and empowered from time to time in the name and on behalf of the Companies, to perform
             the obligations of the Companies under the Bankruptcy Code, with all such actions to be performed
             in such manner, and all such certificates, instruments, guaranties, notices, and documents to be
             executed and delivered in such form, as the Authorized Person performing or executing the same
             shall approve, and the performance or execution thereof by such Authorized Person shall be
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                                           Filed  03/04/24 Entered 03/04/24 23:53:38                 Desc Main
                                          Document       Page 16 of 21



             conclusive evidence of the approval thereof by such Authorized Person and by each Governing
             Body.

                     RESOLVED FURTHER, that each Authorized Person be, and hereby is, authorized,
             directed, and empowered from time to time in the name and on behalf of each Company, to cause
             the Companies to enter into, execute, deliver, certify, file, record, and perform such agreements,
             instruments, motions, affidavits, applications for approvals or rulings of governmental or
             regulatory authorities, certificates, or other documents, to pay all expenses, including filing fees,
             and to take such other actions, as in the judgment of such Authorized Person, shall be necessary,
             proper, or desirable to prosecute to a successful completion the Bankruptcy Cases and to effectuate
             the restructuring or liquidation of the Companies’ debt, other obligations, organizational form, or
             structure and ownership of the Companies, all consistent with the foregoing resolutions and to
             carry out and put into effect the purposes of these resolutions, and the transactions contemplated
             by these resolutions, their authority thereunto to be evidenced by the taking of such actions.

                     RESOLVED FURTHER, that the Authorized Persons be, and they hereby are, authorized
             to bind the Companies for the purposes of the resolutions herein.

                     RESOLVED FURTHER, that each Governing Body has received sufficient notice of the
             actions and transactions relating to the matters contemplated by the foregoing resolutions or hereby
             waives any right to have received such notice.

                                                   Retention of Advisors

                    RESOLVED FURTHER, that, in connection with the Bankruptcy Cases, the Authorized
             Persons, be, and each of them hereby is, authorized and empowered, in the name and on behalf of
             each Company to employ and retain all assistance by legal counsel, accountants, financial advisors,
             investment bankers and other professionals, on behalf of each Company, that such Authorized
             Person deems necessary, appropriate or advisable in connection with, or in furtherance of, the
             Bankruptcy Cases, with a view to the successful prosecution of the Bankruptcy Cases.

                   RESOLVED FURTHER, that the law firm of Sidley Austin LLP, One South Dearborn,
             Chicago, Illinois 60603, is hereby retained and employed as attorneys for the Companies in the
             Bankruptcy Cases.

                    RESOLVED FURTHER, that the law firm of Fox Rothschild LLP, 49 Market Street
             Morristown, NJ 07960, is hereby retained and employed as attorneys for the Companies in the
             Bankruptcy Cases.

                     RESOLVED FURTHER, that the financial advisory firm of FTI, 1166 Avenue of the
             Americas, 15th Floor, New York, NY 10036, is hereby retained and employed as financial advisors
             for the Companies in the Bankruptcy Cases.

                    RESOLVED FURTHER, that FTI Capital Advisors, 1166 Avenue of the Americas, 15th
             Floor, New York, NY 10036, is hereby retained and employed as investment bankers for the
             Companies in the Bankruptcy Cases.
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                                          Document       Page 17 of 21



                   RESOLVED FURTHER, that the firm of Epiq Corporate Restructuring, LLC, 777 Third
             Avenue, 12th Floor, New York, NY 10017, is hereby retained and employed as claims agent for
             the Companies in the Bankruptcy Cases.

                      RESOLVED FURTHER, that the Authorized Persons, be, and each of them hereby is,
             authorized and empowered, in the name and on behalf of each Company to take and perform any
             and all further acts and deeds, including, without limitation, (i) the payment of any consideration,
             (ii) the payment of fees, consent payments, indemnities, taxes and other expenses such Authorized
             Person deems necessary, appropriate or advisable, and (iii) negotiating, executing, delivering,
             performing, and filing any and all documents, motions, pleadings, applications, declarations,
             affidavits, schedules, statements, lists, papers, agreements, certificates and/or instruments in such
             form and with such changes, additions and modifications thereto as any such Authorized Person
             may deem necessary, appropriate or advisable in connection with the retention and employment
             of professionals contemplated by the foregoing resolutions, the execution, delivery, performance
             and filing thereof to be conclusive evidence of the approval thereof by such Authorized Person
             and by each Governing Body.

                                               Debtor-in-Possession Financing

                     WHEREAS, reference is hereby made to:

                     i.       That certain Term Loan Credit Agreement, dated as of November 30, 2022 (as
                              amended by that certain Limited Consent and Amendment No. 1 to Term Loan
                              Credit Agreement and Loan Documents, dated as of April 25, 2023 (“Amendment
                              No. 1”), that certain Amendment No. 2 to Term Loan Credit Agreement and Loan
                              Documents, dated as of July 28, 2023 (“Amendment No. 2”), and as further
                              amended, restated, amended and restated, supplemented or otherwise modified
                              from time to time prior to the date hereof, the “Existing Credit Agreement”), by
                              and among BowFlex Inc. (f/k/a Nautilus, Inc.), a Washington corporation
                              (“BowFlex”), Nautilus Fitness Canada, Inc., a British Columbia company (together
                              with BowFlex, collectively, the “Borrowers”), the other Loan Parties (as defined
                              in the Existing Credit Agreement) from time to time party thereto, the lenders from
                              time to time party thereto (collectively, the “Lenders”) and Crystal Financial LLC
                              d/b/a SLR Credit Solutions, a Delaware limited liability company, as agent for the
                              Lenders (the “Agent”); and

                     ii.      That certain Guaranty and Security Agreement, dated as of November 30, 2022 (as
                              amended and/or supplemented by Amendment No. 1, Amendment No. 2, that
                              certain Joinder No. 1 and Amendment to Guaranty and Security Agreement, dated
                              as of February 16, 2023, that certain Joinder No. 2 and Amendment to Guaranty
                              and Security Agreement, dated as of March 14, 2023, that certain Joinder No. 3 and
                              Amendment to Guaranty and Security Agreement, dated as of April 14, 2023, that
                              certain Joinder No. 4 to Guaranty and Security Agreement, dated as of January 22,
                              2024, and that certain Joinder No. 5 to Guaranty and Security Agreement, dated as
                              of February 19, 2024, and as further amended, restated, amended and restated,
                              supplemented or otherwise modified from time to time prior to the date hereof, the
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                                           Filed  03/04/24 Entered 03/04/24 23:53:38                  Desc Main
                                          Document       Page 18 of 21



                              “Existing Guaranty and Security Agreement” and, together with the Existing
                              Credit Agreement, the “Existing Loan Documents”).

                     WHEREAS, pursuant to the terms of the Existing Loan Documents, the Lenders have
             made certain credit facilities available to the Borrowers, and each Company has granted to the
             Agent a security interest in substantially all of its assets and guaranteed the Guarantied Obligations
             (as defined in the applicable Existing Loan Document);

                     WHEREAS, the Companies desire to amend the Existing Loan Documents pursuant to
             the terms of that certain Amendment No. 3 to Term Loan Credit Agreement and Loan Documents,
             dated on or around the date hereof (the “DIP Amendment”; the Existing Credit Agreement, as
             amended by the DIP Amendment, the “Amended Credit Agreement”; and the Existing Loan
             Documents, as amended by the DIP Amendment, collectively, the “Amended Loan Documents”),
             by and among the Borrowers, the other Loan Parties party thereto, the Lenders party thereto and
             the Agent which, among other things, provides for post-petition revolving commitments for loans
             and advances in an aggregate principal amount not exceeding $9,000,000 in new money (the “DIP
             Facility”);

                     WHEREAS, each Governing Body has received, reviewed, and considered entering into
             the DIP Amendment, and each Governing Body agrees that the Companies should obtain the
             benefits of the DIP Amendment, the Amended Credit Agreement, the other Amended Loan
             Documents and the DIP Facility and desire that the Companies enter into the DIP Amendment;
             and

                     WHEREAS, each Governing Body, having reviewed the terms and conditions of the DIP
             Amendment and the Amended Loan Documents, deems it advisable and in the best interests of
             each Company to approve and adopt the DIP Amendment, the Amended Loan Documents and
             each of the other documents, agreements, instruments, certificates, acknowledgements, statements,
             papers, and Loan Documents (as defined in the Amended Credit Agreement) as may be
             contemplated by the DIP Amendment and the Amended Loan Documents (including, without
             limitation, account control agreements, UCC financing statements, interest rate protection
             agreements, letters of credit, assignments, fee letters, hedging arrangements, mortgages, deeds of
             trust, consents to assignment, subordination agreements, intercreditor agreements, promissory
             notes, cash management agreements, insurance certificates and other customary documents,
             instruments and/or agreements) required or contemplated to be executed or delivered in connection
             with the transactions contemplated thereby or requested by the Agent or the Lenders in connection
             with any of the foregoing (collectively, the “Additional DIP Documents”).

                     NOW, THEREFORE, BE IT RESOLVED, that the form, terms, and provisions of the
             DIP Amendment, the Amended Credit Agreement, the other Amended Loan Documents and each
             of the other Additional DIP Documents, and the Companies’ incurrence and performance of their
             obligations under the DIP Amendment, the Amended Credit Agreement, the other Amended Loan
             Documents and each of the other Additional DIP Documents, including, without limitation, the
             incurrence of indebtedness pursuant to the DIP Facility, any borrowings thereunder, the guaranty
             of, or the reaffirmation of existing guaranties of, the Guarantied Obligations (as defined in the
             applicable Amended Loan Document), the granting of, or the reaffirmation of existing grants of,
             liens on, or security interests in, all or any portion of the Companies’ assets as provided therein,
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                                          Document       Page 19 of 21



             and the consummation of the transactions contemplated thereby, be, and hereby are, in all respects
             authorized and approved; and further resolved, that each of the Authorized Persons be, and hereby
             is, authorized and empowered to execute and deliver, and to cause the Companies to incur and
             perform their respective obligations under the DIP Amendment, the Amended Credit Agreement,
             the other Amended Loan Documents and each of the other Additional DIP Documents, in the name
             and on behalf of the Companies under their seals or otherwise, substantially in the forms presented
             to each Governing Body, with such changes therein and modifications and amendments thereto as
             any Authorized Person may in his or her sole discretion approve, which approval shall be
             conclusive evidenced by his or her execution thereof.

                      RESOLVED FURTHER, that the Authorized Persons be, and hereby are, authorized,
             directed, and empowered, on behalf of and in the name of each Company, (A) to obtain post-
             petition financing according to the terms negotiated by the senior management of the Companies,
             including under debtor-in-possession credit facilities or relating to the use of cash collateral, and
             (B) to secure the payment and performance of any post-petition financing by (i) pledging or
             granting liens and mortgages on, or security interests in, all or any portion of the Companies’
             assets, including all or any portion of the issued and outstanding capital stock, partnership interests,
             or membership interests of any subsidiaries of the Companies, whether now owned or hereafter
             acquired, and (ii) entering into or causing to be entered into such security agreements, pledge
             agreements, control agreements, intercreditor agreements, mortgages, deeds of trust and other
             agreements as are necessary, appropriate, or desirable to effectuate the intent of, or matters
             reasonably contemplated or implied by, this resolution in such form, covering such collateral and
             having such other terms and conditions as are approved or deemed necessary, appropriate or
             desirable by the Authorized Persons executing the same, the execution thereof by such Authorized
             Persons to be conclusive evidence of such approval or determination.

                     RESOLVED FURTHER, that the Authorized Persons be, and hereby are, authorized,
             directed, and empowered, on behalf of and in the name of each Company, to take all actions
             (including, without limitation, the negotiation, execution (including by facsimile, electronic or
             comparable method), delivery and/or filing, as applicable, of any agreements, amendments,
             supplements, consents, waivers, reports, documents, instruments, applications, notes or
             certificates, the payment of any consideration and the payment of all indemnities, fees, expenses
             and taxes) as any such Authorized Person, in his or her sole discretion, may deem necessary,
             appropriate or advisable (such acts to be conclusive evidence that such Authorized Person deemed
             the same to meet such standard) in order to effectuate the transactions contemplated by the DIP
             Amendment, the Amended Credit Agreement, the other Amended Loan Documents or any
             Additional DIP Document, and all acts of any such Authorized Person taken pursuant to the
             authority granted herein, or having occurred prior to the date hereof in order to effectuate such
             transactions, are hereby approved, adopted, ratified and confirmed in all respects.

                     RESOLVED FURTHER, that each of the Authorized Persons be, and hereby is,
             authorized and empowered to execute and deliver any amendments, amendments and restatements,
             supplements, modifications, waivers, consents, renewals, extensions, replacements,
             consolidations, substitutions, and extensions of the DIP Amendment, the Amended Credit
             Agreement, the other Amended Loan Documents and each of the other Additional DIP Documents
             that shall in their sole judgment be necessary, proper or advisable.
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                                           Filed  03/04/24 Entered 03/04/24 23:53:38                  Desc Main
                                          Document       Page 20 of 21



                                                 Asset Purchase Agreement

                      RESOLVED FURTHER, that the form terms and provisions of the Asset Purchase
             Agreement, including all exhibits and schedules attached thereto (collectively, the “Specified
             Transaction Documents”), be and here are, determined to be fair, advisable and in the best interest
             of the Companies and that the Asset Purchase Agreement be, and hereby is, adopted and approved
             in all respects;.

                     RESOLVED FURTHER, that the Companies shall be, and hereby are, and the Authorized
             Persons shall be, and each of them, acting alone, hereby is, in the name and on behalf of the
             Company, authorized, directed and empowered to execute and deliver the Asset Purchase
             Agreement and the Specified Transaction Documents, subject to such modifications thereto as the
             Board or Management may deem necessary or advisable (the approval of which to be conclusively
             established by the execution thereof by an Authorized Person);

                     RESOLVED FURTHER, in addition to the specific authorizations heretofore conferred
             upon the Authorized Persons, the Authorized Persons, either individually or as otherwise required
             by each Company’s governing documents and applicable law, be, and each of them hereby is,
             authorized to execute (under hand or under the common seal of each applicable Company if
             appropriate), acknowledge, deliver, and file any and all agreements, certificates, instruments,
             powers of attorney, letters, forms, transfer, deeds and other documents on behalf of the Companies
             relating to the Asset Purchase Agreement and the Specified Transaction Documents.

                                                        Miscellaneous

                    RESOLVED FURTHER, that each Governing Body hereby ratifies, confirms, approves
             and adopts all actions previously taken by any Authorized Person and all agreements, instruments,
             reports and documents previously executed, delivered or filed through the date hereof by
             Authorized Persons that are approved by the foregoing resolutions and/or otherwise related to the
             DIP Amendment, the Amended Credit Agreement, the other Amended Loan Documents or any
             Additional DIP Document.

                                                    Omnibus Resolution

                     RESOLVED FURTHER, that the Authorized Persons, and each of them with full
             authority to act without the others, are hereby authorized to do all things necessary or desirable, in
             their sole discretion, to carry out the intent of the foregoing resolutions.
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                                           Filed  03/04/24 Entered 03/04/24 23:53:38            Desc Main
                                          Document       Page 21 of 21



                     IN WITNESS WHEREOF, this Unanimous Written Consent of BowFlex Inc. and
             BowFlex New Jersey LLC is hereby executed, effective as of March 4, 2024. It is understood
             and agreed that this Unanimous Written Consent may be executed in one or more counterparts,
             each of which shall be deemed an original, and all of which together shall constitute the same
             Unanimous Written Consent. An electronic copy of a signature on this Unanimous Written
             Consent shall be deemed an original signature. A copy of this Unanimous Written Consent shall
             be filed with minutes of the proceedings of each Governing Body.

             Bowflex Inc.




              _____________________________________ _____________________________________
              James Barr, IV                        Anne G. Saunders




              _____________________________________ _____________________________________
              Patricia M. Ross                      Kelley Hall




              _____________________________________ _____________________________________
              Shailesh Prakash                      Ruby Sharma


             Bowflex New Jersey LLC
             By: Bowflex Inc., its Member




             By:______________________________________
             Name: Alan Chan
             Title: Chief Legal & People Officer and Secretary
